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Prob 12B                  UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

           PETITION TO MODIFY THE CONDITIONS OR TERM OF SUPERVISION
                        WITH CONSENT OF THE OFFENDER
                         (Probation Form 49, Waiver of Hearing, is on file)



Offender Name:                       Esmeralda Chavez

Docket Number:                       1:02CR05288-005 OWW

Offender Address:                    5727 E. Beck Ave, #204
                                     Fresno, CA 93727

Judicial Officer:                    Honorable Oliver W. Wanger
                                     United States District Court Judge
                                     Fresno, California

Original Sentence Date:              4/25/2005

Original Offense:                    Conspiracy to Distribute 5 Grams or More of
                                     Methamphetamine [21 USC 846 & 841(a)(1)]
                                     (CLASS B FELONY)

Original Sentence:                   39 months prison, 4 years TSR, $100 special
                                     assessment

Special Conditions:                  Search, substance abuse counseling & testing, no cell
                                     phone/pager, aftercare co-pay

Type of Supervision:                 Supervised Release (TSR)

Supervision Commenced:               7/15/2005

Other Court Action:                  None




                                                                                   Rev. 04/2005
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RE:   CHAVEZ, Esmeralda
      Docket Number: 1:02CR05288-005 OWW
      PETITION TO MODIFY THE CONDITIONS OR TERM
      OF SUPERVISION WITH CONSENT OF THE OFFENDER




                              PETITIONING THE COURT

To modify the conditions of supervision as follows:

      As directed by the probation officer, the defendant shall participate in a
      program of mental health treatment, which may include the taking of
      prescribed psychotropic medication.


Justification: The defendant has a history of anxiety, depression, unresolved molest
issues (generational) and suffers from attention deficit disorder. She has also attempted
suicide in the past. Per her current substance abuse counselor, the defendant is in greater
need of mental health related counseling. The defendant is in agreement with the
modification of her conditions of supervision to include her participation in mental health
counseling.




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RE:   CHAVEZ, Esmeralda
      Docket Number: 1:02CR05288-005 OWW
      PETITION TO MODIFY THE CONDITIONS OR TERM
      OF SUPERVISION WITH CONSENT OF THE OFFENDER


                                    Respectfully submitted,

                                     /s/ Melinda S. Peyret

                                    Melinda S. Peyret
                             United States Probation Officer
                               Telephone: (559) 498-7569

DATED:         12/22/05
               Fresno, California
               mp


REVIEWED BY:         /s/ Scott Waters for:
                     BRUCE A. VASQUEZ
                     Supervising United States Probation Officer




THE COURT ORDERS:

( X ) Modification approved as recommended.

( )   Modification not approved at this time. Probation Officer to contact Court.

( )   Other:

January 3, 2006                                    /s/ OLIVER W. WANGER
Date                                                  Signature of Judicial Officer

cc:   United States Probation
      Defendant
      Court File




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